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                                UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF GEORGIA
                                        ATLANTA DIVISION

IN RE:                                                   )       CHAPTER 13
Ashlie Lynn Saylors,                                     )
                                                                 CASE NO.: 16-53721-LRC
                                                         )
                                                         )
                             DEBTOR.                     )
                                          MOTION TO DISMISS

    COMES NOW Melissa J. Davey, Trustee in the above styled matter, and respectfully shows the

Court as follows:

       1. Debtor has filed a petition for relief under Chapter 13.
       2. Debtor has failed to comply with this Court's Order requiring regular monthly Plan payments.
           Debtor should have paid $45,604.40. Debtor has paid a total of $43,036.20, causing a
           delinquency of $2,568.20. Debtor's Plan violates 11 U.S.C. §§ 1307(c)(1) and 1307(c)(6).
       3. In addition, Debtor failed to remit the 2016 and 2018 income tax returns, or any resulting
           refund to the Trustee. Accordingly, Debtor is in material default of the terms of the confirmed
           Plan and has caused unreasonable delay that is prejudicial to the creditors. The case should
           be dismissed. 11 U.S.C. §§ 1307(c)(1) and 1307 (c)(6).

WHEREFORE, Trustee respectfully requests this case be dismissed.


 Dated: August 15, 2019                                          Prepared and Presented by:

                                                                 /s/
                                                                 Mandy K. Campbell
                                                                 Attorney for Chapter 13 Trustee
                                                                 GA Bar No. 142676
                                                                 260 Peachtree Street, NW, Suite 200
                                                                 Atlanta, GA 30303
                                                                 (678) 510-1444 Phone
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                               UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION



IN RE:                                                 )       CHAPTER 13
Ashlie Lynn Saylors,                                   )
                                                               CASE NO.: 16-53721-LRC
                                                       )
                                                       )
                            DEBTOR.                    )

                         NOTICE OF HEARING ON MOTION TO DISMISS

       A hearing on the Chapter 13 Trustee's Motion to Dismiss will be held September 17, 2019 at 9:45 AM

in the Richard B. Russell Building, 75 Ted Turner Drive S.W. Courtroom 1204, Atlanta, GA 30303-3367.

       All written objections shall state the grounds therefor and shall be filed with the Clerk, United States

Bankruptcy Court: Richard B. Russell Building, 75 Ted Turner Drive S.W., Room 1340, Atlanta, GA 30303.

       A copy of any objection should be furnished to the Chapter 13 Trustee: Melissa J. Davey, Standing

Chapter 13 Trustee, 260 Peachtree St NW, Suite 200, Atlanta, GA 30303.


Dated: August 15, 2019
                                                               Prepared and Presented by:

                                                               /s/
                                                               Mandy K. Campbell
                                                               Attorney for Chapter 13 Trustee
                                                               GA Bar No. 142676
                                                               260 Peachtree Street, NW, Suite 200
                                                               Atlanta, GA 30303
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                                 UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF GEORGIA
                                         ATLANTA DIVISION

IN RE:                                                  )         CHAPTER 13
Ashlie Lynn Saylors,                                    )
                                                                  CASE NO.: 16-53721-LRC
                                                        )
                                                        )
                       DEBTOR.                          )

                                        CERTIFICATE OF SERVICE


   This is to certify that I have on this day electronically filed the foregoing Motion to Dismiss together with the
Notice of Hearing on the Motion to Dismiss using the Bankruptcy Court’s Electronic Case Filing program,
which sends a notice of this document and an accompanying link to this document to the following parties who
have appeared in this case under the Bankruptcy Court’s Electronic Case Filing program:

Andrea Lynn Betts abetts@rascrane.com
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Maria A. Tsagaris maria.tsagaris@mccalla.com,
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   I further certify that on this day I caused a copy of this document to be served via United States First Class
Mail with adequate postage prepaid on the following parties set forth below at the address shown for each.


DEBTOR(S):

ASHLIE LYNN SAYLORS
1434 GLEN OVER CIRCLE
MARIETTA, GA 30062

August 15, 2019                                                    Prepared and Presented by:

                                                                   /s/
                                                                   Mandy K. Campbell
                                                                   Attorney for Chapter 13 Trustee
                                                                   GA Bar No. 142676
                                                                   260 Peachtree Street, NW, Suite 200
                                                                   Atlanta, GA 30303
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